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                             UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION


  State of Missouri, et al.,

                               Intervenor-Plaintiffs,

          v.                                                       Case No. 2:22-cv-00223-Z

  U.S. Food and Drug Administration, et al.,

                               Defendants,

          and

  Danco Laboratories, LLC,

                               Intervenor-Defendant.


          DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                          TO FILE REPLY BRIEF

         Pursuant to Federal Rule of Civil Procedure 6(b), Defendants respectfully request an

 extension of time to file their reply brief in support of their motion to dismiss, which is currently

 due March 6, 2025. Specifically, Defendants respectfully request an extension of 60 days, or in the

 alternative 30 days. Good cause exists for this extension, as set forth herein.

         1.       Intervenor Plaintiffs—the States of Missouri, Idaho, and Kansas (“the States”)—

 previously filed an Amended Complaint, which Defendants moved to dismiss on January 18, 2025.

 See ECF No. 218. On January 28, 2025, Intervenor-Defendant Danco Laboratories, LLC (“Danco”)

 likewise moved to dismiss the States’ Amended Complaint. See ECF No. 221.

         2.       With Defendants’ and Danco’s consent, the States sought an extension of time to

 align their deadlines for responding to the motions to dismiss, see ECF No. 226, which this Court

 granted, see ECF No. 227. The States filed their opposition memorandum to the motions to dismiss

 on February 20, 2025. See ECF No. 228.
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         3.       On February 25, 2025, GenBioPro, Inc. (“GenBioPro”) filed a motion for leave to

 intervene as a defendant. See ECF No. 229.

         4.       Under this Court’s Local Rules, Defendants’ reply brief in support of their motion to

 dismiss is currently due on March 6, 2025. See Local Civil Rule 53.1(c).

         5.       Defendants respectfully request that their deadline for filing their reply brief be

 extended by a period of 60 days (until May 5, 2025), or in the alternative for 30 days (until April 7,

 2025). This extension is warranted in part because, since the States’ filing of their opposition

 memorandum, undersigned counsel has been occupied by several other matters involving emergency

 deadlines. Additionally, this extension will ensure that the new Administration, which took office on

 January 20, 2025, is able to familiarize themselves with the issues in this case. This requested

 extension is consistent with extensions that the new Administration is seeking in other mifepristone-

 related litigation.

         6.       As set forth in more detail in the accompanying Certificate of Conference, this

 motion is unopposed. The States consent to Defendants’ requested extension. Danco consents to a

 30-day extension so long as Danco’s reply date is moved by the same amount, and Danco takes no

 position on a 60-day extension so long as Danco’s reply date is moved by the same amount.

 GenBioPro similarly consents to a 30-day extension, and takes no position on a 60-day extension.

         7.       For the reasons set forth above, Defendants respectfully request that their deadline

 for filing their reply brief in support of their motion to dismiss be extended for a period of 60 days,

 or in the alternative for 30 days.

 March 3, 2025                                            Respectfully submitted,

                                                         YAAKOV M. ROTH
                                                         Acting Assistant Attorney General

                                                         ERIC B. BECKENHAUER
                                                         Assistant Director
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                                     Certificate of Conference

        Pursuant to Local Civil Rule 7.1, undersigned counsel (Daniel Schwei) conferred with

 counsel for the other parties regarding this motion on February 27, 2025 through March 3, 2025.

 Counsel for Intervenor-Plaintiffs (Joshua Divine) consented to Defendants’ request. Counsel for

 Intervenor-Defendant Danco (Jessica Ellsworth) stated that “Danco consents to a 30-day extension

 so long as Danco’s reply date is moved by the same amount. Danco takes no position on a 60-day

 extension so long as Danco’s reply date is moved by the same amount.” Counsel for the putative

 Intervenor-Defendant GenBioPro (Robert Katerberg) stated that “GenBioPro takes the same

 position as Danco -- consent to 30 days; no position on 60 days.”


                                                              /s/ Daniel Schwei
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